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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

JAIME LOREE ARMIJO, on behalf of herself and all others
similarly situated,

       Plaintiff,

v.                                                         Civil No. ________________

FEDEX GROUND PACKAGE SYSTEM, INC.,
a foreign company,

       Defendant.

                    CLASS ACTION COMPLAINT AND JURY DEMAND

       COMES NOW Plaintiff Jaime Loree Armijo, on her own behalf and on behalf of

all others similarly situated, by and through undersigned counsel, and asserts to the

best of her knowledge, information and belief, formed after an inquiry reasonable

under the circumstances, the following:

                                     INTRODUCTION

       1.      FedEx Ground Package System, Inc. (hereafter, “FedEx Ground”) has

fought – and largely lost – a 15-year-plus battle with its drivers over their correct

classification as employees or independent contractors. For reasons mostly relating

to securing business advantages over competitors, FedEx classified its drivers as

independent contractors, which in turn forced the drivers to carry most of the

expenses relating to courier overhead. Over the last five years, this classification

status has been consistently rejected by various courts. See, e.g., Slayman v. FedEx

Ground Package Sys., 765 F.3d 1033 (9th Cir. 2014); Craig v. FedEx Ground Package

Sys., 335 P.3d 66 (Kan. 2014) (per curiam); Alexander v. FedEx Ground Package Sys.,

765 F.3d 981 (9th Cir. 2014). The quantity of litigation arising from FedEx Ground’s
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claimed status of its drivers is the byproduct of the operating agreements it entered

into with its drivers. As the District of Kansas has explained, FedEx Ground

“carefully structured its drivers’ operating agreements so that it could label the

drivers as independent contractors … to avoid the additional costs associated with

employees. In other words,” the question is close “by design.” Craig, 335 P.3d at 72-

73.

        2.    This lawsuit is the first brought by New Mexico FedEx Ground drivers

challenging the independent contractor status claimed by FedEx Ground. Two legal

claims, both unique to New Mexico, are asserted.

        3.    First, New Mexico FedEx Ground drivers seek recovery under New

Mexico’s unauthorized deduction statute, NMSA 1978, § 14-13-11(A), which

provides:

              All assignments of wages or salaries due or to become due
              to any person, in order to be valid, shall be acknowledged
              by the party making the assignment before a notary public
              or other officer authorized to take acknowledgments. The
              assignment shall be recorded in the office of the county
              clerk of the county in which the money is to be paid and a
              copy served upon the employer or person who is to make
              payment.

By taking deductions from its drivers every week, FedEx Ground violates this

statute with every check to Ground drivers for their work performed.

        4.    Second, New Mexico’s overtime law, NMSA 1978, § 50-4-22(D) (2008),

requires that for those hours over 40 worked in a week, employees shall be paid

time-and-a-half their regular hourly rate. The statute also permits only a limited use

of wage deductions: “An employer furnishing food, utilities, supplies or housing to

an employee who is engaged in agriculture may deduct the reasonable value of such
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furnished items from any wage due to the employee.” Id., § 50-4-22(B). These rights

cannot be waived: “The Minimum Wage Act conveys rights in the form of minimum

standards that the legislature intended all state workers to enjoy, without regard to

a worker's relationship with a union or her or his contract with the employer. …

These rights are nonnegotiable, meaning that they cannot be waived by private law,

including the worker's and the employer's mutual agreement.” Self v. UPS, 1998-

NMSC-046, ¶ 14, 970 P.2d 582, 588.

       5.     There is no exception to the New Mexico overtime law applicable to

FedEx Ground drivers.

       6.      Private enforcement of the overtime statute is granted via NMSA

1978, § 50-4-26 (2013). Among other things, the statute provides for a private cause

of action, mandatory liquidated damages equal to twice the underpaid wages,

attorney’s fees to a prevailing plaintiff (but not to a prevailing defendant), injunctive

relief, and a requirement that actions brought under the statute “shall be heard by

the court at the earliest possible date and shall be entitled to a preference over all

other civil actions…” The statute of limitations for such claims is three years. NMSA

1978, § 37-1-5 (2009).

       7.     Because Plaintiff’s working conditions are materially identical to her

coworkers’, this lawsuit is brought as a class action.

                                JURISDICTION AND VENUE

       8.     This Court has jurisdiction in this matter via 28 U.S.C. § 1332, as the

amount in controversy exceeds $5 million and there is at least one class member

diverse in citizenship from the defendant.


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       9.      Venue is appropriate in this district because Plaintiff is a citizen of

New Mexico, this class involves FedEx Ground drivers who operated out of FedEx’s

New Mexico terminal, and most (if not all) of FedEx Ground’s breaches took place

within this judicial district.

                                         PARTIES

       10.     Plaintiff Jaime Loree Armijo is a citizen of the state of New Mexico,

within this judicial district. On July 27, 2013, Plaintiff executed a contract with

FedEx Ground to work as a “pickup and delivery contractor.” Exhibit 1 is a true and

correct copy of Plaintiff’s 7/27/13 FedEx Ground contract.

        11.    Defendant FedEx Ground Package System, Inc., is a Delaware

corporation with its principal place of business in Pennsylvania. On information and

belief, FedEx Ground is a citizen of Pennsylvania in that it principally operates out of

that state and its headquarters are located within that state. FedEx Ground Package

System, Inc. is a part of the family of corporations owned by Federal Express

Corporation.

        12.    In this Complaint, FedEx Ground is specifically defined as the named

defendant and all successor, predecessor, related and subsidiary entities to which

these allegations pertain.

        13.    For most of her tenure at FedEx Ground, Plaintiff routinely worked 60

hours a week, or more. Because Plaintiff and class members turn on their FedEx-

supplied scanner as the first thing they do when they are ready to leave the

terminal, and turn off their scanner as the last thing they do when their shift ends,

FedEx has a record of the hours worked by Plaintiff and all other class members.


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       14.    The FedEx Ground contract was unilaterally amended by FedEx many

times during Plaintiff’s tenure as a driver. At some point on or after April 2, 2016,

FedEx canceled the contracts of all New Mexico drivers and replaced their contracts

with a new “agreement” that included a requirement that all drivers must purchase

at least five FedEx routes (hereafter referred to as the “FedEx replacement

contract”).

       15.    This case only involves those claims arising out of the standard

contract attached as Exhibit 1 (Plaintiff Armijo’s 7/27/13 contract with FedEx

Ground). This case does not bring claims arising out of drivers’ performance of the

FedEx replacement contract (a copy of which is not attached, as Plaintiff Armijo left

FedEx Ground on April 2, 2016, before the replacement contract was instituted) .

       16.    FedEx Ground required Plaintiff and class members to create and

maintain a corporate entity in order to operate as contractor. Id., Addendum 16.

Accordingly, Plaintiff created “Jaimes Elegant P & D Corporation” and executed the

FedEx Ground contract as the sole owner/operator of that entity.

                                         FACTS

A.     New Mexico employee status test

       17.    When determining whether a worker is an “employee” protected by

the New Mexico wage laws, New Mexico courts look to the “economic realities” of

the relationship. Under the economic realities test, or any test for “employee

status,” Plaintiff and other FedEx Ground drivers are employees of Defendant.




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B.      The economic realities of the relationship demonstrate that FedEx
        Ground drivers are employees not independent contractors

        18.     Invoking the factors New Mexico courts apply demonstrates that

Plaintiff and the described class members are employees of FedEx Ground.

        19.     FedEx Ground controls the terms and conditions of plaintiffs'

employment. FedEx Ground's drivers are a permanent and important part of its

business. They work every day that FedEx Ground delivers packages, for 9.5 to 11

hours per day. They are overseen by FedEx-employed managers, who evaluate their

job performance and may refuse to let them work. Therefore, they are employees

under the economic-realities test.

C.      FedEx Ground has the right to control the means and manner of drivers’
        work, and exercises that control

        20.     FedEx Ground requires all newly hired drivers to execute a standard

agreement; a driver's failure to comply with the agreement is grounds for

termination. Id., p. 18 of 23, ¶ 12.1. Accordingly, FedEx Ground can require

compliance with its instructions by threatening termination.

        21.     Though the contract purports to grant drivers some discretion, a

closer look at the contract negates the notion that the drivers have any room for

discretion in the manner and means of performing their jobs. see, e.g., Id., pp. 1, 7, 16

of 23, Att. 7.1 to Addendum 7. FedEx Ground’s directions include: delivery days and

times; delivery methods; reporting requirements; vehicle identification,

specifications, and maintenance; and driver appearance. FedEx Ground endeavors

to control every detail of a driver’s performance, including the color of socks and the

style of hair. See, e.g., Id., pp. 3 & 6 of 23, at ¶¶ 1.5 & 1.12.


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       22.     FedEx Ground drivers cannot exercise their independence by

modifying their contract to their advantage. Thus, the document more closely

resembles a unilaterally proffered, take-it-or-leave-it employment contract. See, e.g.,

Id., pp. 9, 13, 15, 16, 22 of 23. In addition, the contract is not the sole source defining

a driver's relationship with the company. There are manuals, handbooks,

memoranda, training videos, and other means of communication that direct the

manner and means of delivering packages for FedEx Ground. In short, the procedure

by which a driver becomes qualified to deliver packages for FedEx Ground more

closely resembles the process for hiring employees, not the process for negotiating

independent contractor agreements.

       23.     With respect to a driver’s appearance, the contract requires drivers to

“wear a FedEx Ground-approved uniform, maintained in good condition,” and to

“keep his/her personal appearance consistent with reasonable standards of good

order as maintained by competitors and promulgated from time to time by FedEx

Ground.” Id., p. 6 of 23, ¶ 1.12. The notion that such requirements are merely

unenforceable suggestions is negated by the fact that FedEx Ground reserves the

right to refuse to allow drivers to perform deliveries unless properly dressed or

groomed.

       24.     FedEx Ground requires drivers to comply with strict requirements for

vehicle appearance, specification, and maintenance. For example, each vehicle must

be painted “FedEx White” and bear FedEx Ground’s logos and advertising. The

trucks must be “maintained in a clean and presentable fashion free of body damage

and extraneous markings.” FedEx Ground reserves the right to inspect trucks to


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ensure they comply with FedEx Ground’s appearance standards. The vehicles must

meet FedEx Ground's minimum specifications for height, width, length, bumper

height, interior shelving requirements, and (in some cases) age restrictions. FedEx

Ground decides what size and configuration of truck is appropriate for a particular

route. FedEx managers may remove a vehicle from service if it does not meet

appearance standards or if a driver fails to timely submit maintenance reports.

Failure to comply with the vehicle appearance standards constitutes a breach of the

contract, which can result in termination by FedEx Ground. See Id., pp. 3, 5, & 6 of 23,

¶¶ 1.5, 1.10(e), & 1.12.

        25.     The FedEx Ground contract provides strict requirements with regard

to the handling and delivery of packages. Drivers are required to “handle, load,

unload and transport packages using methods that are designed to avoid theft, loss

and damage.” Id., p. 5 of 23 at (c).) In addition, the FedEx Ground contract provides

that drivers agree to “[c]ooperate with FedEx Ground’s employees, customers and

other contractors, to achieve the goal of efficient pick-up, delivery, handling, loading

and unloading of packages and equipment, and provide such electronic and/or

manual data pertaining to package handling as is reasonably necessary to achieve

this goal.” Id., p. 5 of 23 at (d).

        26.      FedEx Ground requires drivers to record information on all package

deliveries. FedEx Ground utilizes multiple oversight methods for the contract’s

handling and delivery requirements. In other words, FedEx Ground supervises

drivers to assure that the designated manner and means of delivering packages are

being followed. Specifically, FedEx managers are to conduct daily van service audits


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of every driver to ensure compliance with FedEx Ground's procedures for

undelivered packages. Failure to follow FedEx Ground's procedures for proper

release of packages may constitute a breach of the contract, resulting in termination.

       27.    FedEx Ground hires experts to perform random security reviews to

ensure that drivers are securing their vehicles properly when delivering packages.

Failure to properly secure a vehicle is also considered a violation of the FedEx

Ground contract.

       28.    FedEx Ground requires at least two, but not more than four, customer

service rides each year. Id., pp. 6 & 13 of 23, ¶¶ 1.14 & 5.2. The customer service

rides provide FedEx managers with the opportunity to see if drivers are complying

with FedEx Ground's customer service standards and ensure that drivers are

operating their vehicles safely. FedEx managers are trained to record observations

during a customer service ride, including: drivers’ check-in and check-out

procedures; how drivers operate, park, enter and exit their vehicles; drivers’

delivery and pickup methods; and whether drivers experience any delay time in

performing their work. In addition, the FedEx manager is supposed to make

multiple specific written observations regarding the driver's performance in the

areas of package quality at delivery, quality assurance, driver release, professional

appearance, customer courtesy, and service. During some of the customer service

rides, FedEx managers analyze the driver's primary service area and document

details including: the time the driver arrives and departs from each stop; the

number of minutes at each stop; the number of minutes between stops; the last

three digits of the driver's odometer reading at each stop; and the approximate


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distance a driver must walk to pick up or deliver a package.

       29.    FedEx managers are expected to conduct at least two "business

discussions" with drivers each year. The business discussions are considered

procedures and not mandatory policies. The business discussions are designed to

allow FedEx managers to provide recommendations and counseling to drivers in

performing their contracted work. A FedEx manager may request a business

discussion for multiple reasons, including problems with the driver's performance

related to undelivered packages, missed pickups, and improper documentation.

Although FedEx Ground may not force drivers to participate in a business

discussion, failure to participate may reflect poorly on drivers’ opportunities to

renew their contracts. Moreover, documentation from business discussions is used

to support contract termination.

       30.    Further, FedEx managers are encouraged to conduct a “business plan”

discussion with drivers each year. During the documented discussion, FedEx

managers review problem areas, agreed-upon solutions, delivery areas, and driver

expectations. A FedEx business plan discussion form provides spaces for the

manager to document the following information: the driver's total number of stops,

packages, miles, and DOT (Department of Transportation) hours of work;

anticipated changes in the driver's primary service area; the condition and

appearance of the driver's equipment; any deficiencies and expected correction

dates; the number and types of complaints the driver has received in the last 12

months; the driver's contingency plan in the event of a vehicle breakdown; and any

comments or questions the driver may have.


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                 Drivers’ work is an integral part of FedEx’s business

       31.       The work that the FedEx Ground drivers perform -- the pick-up and

delivery of packages -- is essential to FedEx Ground’s core business.

         The Driver’s relative investment in tools and equipment pales
                in comparison to the investment of Defendant

       32.       Most drivers use tools, instrumentalities, and services supplied by

FedEx Ground -- by participating in deductions from FedEx Ground’s Business

Support Package/Contractor Assistance Program – including: marketing, uniforms,

scanners, shipping documentation, and DOT (Department of Transportation)

inspections. See Id., pp. 6 & 15 of 23, ¶¶ 1.13 & 7, & Addendum 7.

       33.       Though drivers have some investment in their tools and equipment

(including for many drivers, their delivery vehicle), this investment is minimal when

compared to the millions of dollars invested by FedEx in advertising, paying

management and other employees, and maintaining delivery facilities across the

entire United States.

 Drivers have no ability to affect their profit or loss through managerial skill

       34.       FedEx Ground unilaterally controls the price paid by the customer for

each delivery.

       35.       FedEx Ground unilaterally determines the amount that the drivers are

paid for each delivery, which is essentially a piecerate for each job performed but

has some variable components determined by FedEx Ground. See, e.g., Id. at

Addendum 3.

       36.       Drivers are required to perform any delivery assigned by Defendant,

even if it is outside their normal “territory,” and the driver believes that the delivery
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will not be profitable (e.g., driving 1.5 hours round-trip to deliver one package that

is on another Driver’s route).

       37.     Defendant also maintains the right, and exercises its right, to take

away any delivery from inside a driver’s defined “territory” and assign it to a

different driver.

       38.     If drivers wish to hire a “helper” to assist them in their work, FedEx

Ground has the final say over whom they may hire.

             Minimal skill is required for drivers to perform the work

       39.     FedEx Ground drivers need no experience to get the job in the first

place and the only required skill is the ability to drive.

  Drivers usually have a long and exclusive relationship with FedEx Ground

       40.     Plaintiff operated the same single route or territory for Defendant for

three years, and most other FedEx Ground drivers worked for Defendant for several

years. The agreement that FedEx Ground required all drivers to sign was for a term

of one-year.

       41.     Thus, drivers hold permanent, full-time positions and cannot

realistically pursue other business opportunities. While delivering Defendant’s

packages, they are forbidden from using their vehicles for any other purpose. See,

e.g., Id., p. 2 of 23, ¶ 1.4. Drivers also cannot realistically use their vehicles for any

business purpose other than for Defendant, because Defendant requires that

Drivers’ vehicles bear a FedEx Ground logo, and Defendant prohibits use of the

vehicle for any activity not authorized by Defendant while the logo is visible.




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                               Other Considerations

       42.    FedEx Ground's business is to take a package from one person or

entity and deliver it to another person or entity. FedEx Ground does not

manufacture or sell any product or perform any other service. When FedEx Ground

drivers deliver packages, they have performed the sole service that FedEx Ground

offers. Without the delivery drivers, there is no FedEx Ground business. In short,

Plaintiff and all other class members are integrated into FedEx Ground's business to

the highest degree possible, and this factor weighs heavily in favor of an

employer/employee relationship.

       43.    FedEx Ground’s drivers provide the core function of FedEx Ground’s

business. Thus, FedEx Ground is in business, and businesses do not ordinarily trust

their core functions to independent contractors over whom the business has

minimal control.

                                  CLASS ALLEGATIONS

       44.    Plaintiff brings this lawsuit on her own behalf and on behalf of the

following class: all individuals who worked for defendant FedEx Ground System,

Inc., and/or its subsidiary, FedEx Home Delivery, Inc., in New Mexico as package

pick-up and delivery drivers pursuant to a Standard Operating Agreement and who

were classified as “independent contractors,” thereby depriving them of various

protections under New Mexico law.

       45.    The named plaintiff will adequately represent the class because she

was treated by FedEx Ground in the same manner as other class members. FedEx

Ground’s misclassification, and resulting violation of New Mexico law, damaged


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Plaintiff in the same manner as other class members.

       46.    There are common questions of law and fact applicable to the entire

class, including the question of whether Plaintiff and other class members are

entitled to certain types of statutory protections as FedEx Ground employees, as

defined by common and statutory law.

       47.    This case should be certified as a class action pursuant to Fed. R. Civ.

P. 23 because the common questions of law and fact concerning FedEx Ground’s

liability predominate over any individual question as to the amount of damages to

each person in that:

              a. The members of the class are so numerous that their individual

                 joinder in a single action is impossible and/or impracticable;

              b. The central questions of law and fact involved in this action are of

                 a common or general interest and those common legal and factual

                 issues predominate over any questions affecting only individual

                 members of the class. Among the common questions of law and

                 fact are the following:

                          i. Whether class members have been misclassified as

                            independent contractors;

                          ii. Whether FedEx Ground has violated its legal obligations

                            under various provisions of New Mexico law;

                          iii. Whether injunctive and declaratory relief and an

                            equitable accounting are proper.




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        48.    Individual litigation of all claims that might be asserted by all class

members would produce a multiplicity of cases that would congest for years the

judicial system having jurisdiction of the claims. By contrast, class certification

provides manageable judicial treatment calculated to bring a rapid conclusion to all

litigation of all claims arising out of the conduct of FedEx that is similar as to all class

members.

        49.    Certification of the class would allow litigation of claims that may be

of an insufficient amount to support separate actions, in view of the expense of the

litigation.

        50.    The claims of the named plaintiff are identical to the claims of other

members of the class. The named plaintiff shares the same interests as other

members of the class in this action because, like other class members, FedEx

Ground’s wrongful misclassification caused Plaintiff and each class member to each

suffer financial loss of thousands of dollars.

        51.    The named plaintiff is committed to vigorously prosecuting this

action. She has retained competent and experienced counsel to represent her and

the class.

        52.    A class action is the only realistic method available for the fair and

efficient adjudication of this controversy. The expense and burden of individual

litigation makes it impracticable for class members to seek individual redress for

FedEx’s wrongful conduct.

                                   Count 1
    Violation of NMSA 1978, § 50-4-22 (2008), New Mexico’s Overtime Law

        53.    Plaintiff restates paragraphs 1–52 as if fully set forth.
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       54.    Plaintiff’s first claim is brought for FedEx Ground’s violation of NMSA

1978, § 50-4-22 (2008). It is brought under New Mexico statutory law.

       55.    The class period for this claim begins three years before the date this

action commenced. See NMSA 1978, § 37-1-5 (2009).

       56.    Under NMSA 1978, § 50-4-22(D) (2008), all New Mexico employees

(with limited exceptions not relevant here) are entitled to be paid at time-and-a-half

their regular hourly rate for all hours above 40 worked in a week.

       57.    The exceptions to this protection at NMSA1978, § 50-4-24 (2013) do

not apply to Plaintiff or to other class members.

       58.    The overtime protections may be enforced civilly through NMSA

1978, § 50-4-26 (2013). The statute provides a private right of action for violation of

the overtime protections, mandatory liquidated damages equal to twice the

underpaid wages, attorney’s fees to a prevailing plaintiff, injunctive relief, and a

requirement that actions brought under the statute “shall be heard by the court at

the earliest possible date and shall be entitled to a preference over all other civil

actions.”

       59.    Plaintiff and the class members, who are properly classified as FedEx

Ground employees, are entitled to protection under the statute. They each have

been deprived overtime pay for their hours over 40 worked in a week.

                                    Count 2
                      Violation of NMSA 1978, § 14-13-11,
                  New Mexico’s Unauthorized Deduction Statute

       60.    Plaintiff restates paragraphs 1-52 as if fully set forth.




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       61.     Plaintiff’s second claim is for violation of NMSA 1978, § 14-13-11. It is

brought under New Mexico statutory law.

       62.     The class period for this claim begins four years before the date this

action commenced. See NMSA 1978, § 37-1-4.

       63.     Under NMSA 1978, § 14-13-11(A):

               All assignments of wages or salaries due or to become due to
               any person, in order to be valid, shall be acknowledged by the
               party making the assignment before a notary public or other
               officer authorized to take acknowledgments. The assignment
               shall be recorded in the office of the county clerk of the county
               in which the money is to be paid and a copy served upon the
               employer or person who is to make payment.

       64.     Because Plaintiff and class members are employees, they are entitled

to the protections of this statute.

       65.     With each paycheck (which Fedex Ground calls a “settlement

statement”), FedEx Ground withholds certain amounts due to Plaintiff and class

members. This withholding is an “assignment of wages or salaries” and thus subject

to NMSA 1978, § 14-13-11.

       66.     FedEx Ground violates the requirements of NMSA 1978, § 14-13-11

with each “settlement statement” paid to Plaintiff and class members.

       67.     Under NMSA 1978, § 14-13-11, FedEx Ground’s withholdings are void.

Plaintiff and class members are entitled to be reimbursed by FedEx Ground for all

amounts FedEx Ground withheld in violation of New Mexico law.

                                       Count 3
                                  Unjust Enrichment

       68.     Plaintiff restates paragraphs 1-52 as if fully set forth.



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       69.      Plaintiff’s third legal claim is for unjust enrichment. It arises under the

common law.

       70.      The class period for this claim begins four years before the date this

action commenced. See NMSA 1978, § 37-1-4.

       71.      Defendant FedEx Ground has been financially enriched by subjecting

Plaintiff and other class members to deductions, charges, and/or expenses that

typically are borne by the employer (including many of FedEx Ground’s business

competitors).

       72.      The financial enrichment enjoyed by FedEx Ground has come at the

expense of Plaintiff and other class members, all of whom have borne the improper

deductions, charges and/or expenses.

       73.      It is against equity and good conscience to permit Defendant FedEx

Ground to retain such improper deductions, charges and/or expenses, and it is

against the public policy of New Mexico for FedEx Ground to benefit from these

unlawful deductions from their employee’s wages.

       74.      Defendant FedEx Ground should be required to reimburse Plaintiff

and other class members for such improper deductions, charges and/or expenses

under the doctrine of unjust enrichment.

       WHEREFORE, Plaintiff and all other class members respectfully request the

following relief:

       A. Certification of the above-described class with the appointment of

             Plaintiff as the class representative and the undersigned attorneys as

             class counsel;


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       B. A declaration that FedEx Ground has violated both NMSA 1978, § 50-4-22

           (2008) (New Mexico’s overtime law) and NMSA 1978, § 14-13-11 (New

           Mexico’s unauthorized deduction statute);

       C. An award of overtime pay to Plaintiff and to class members for all hours

           over 40 worked per week for each week during the class period;

       D. Liquidated damages equaling two times the overtime payments due to

           Plaintiff and all class members;

       E. An award of all amounts withheld by FedEx Ground in violation of NMSA

           1978, § 14-13-11;

       F. Reimbursement of all charges, deductions and expenses;

       G. An award of attorneys’ fees and reasonable costs incurred in the

           prosecution of this action;

       H. All other relief this Court finds appropriate and equitable including

           payment of reasonable fees, costs, and interest where permitted by law.

                                     JURY DEMAND

       Pursuant to Fed. R. Civ. P. 38, Plaintiff and all other class members demand a

trial by jury on all issues that may be so tried.

                                              Respectfully submitted,

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